Case 1:06-cr-00008-JMS-DML           Document 37       Filed 11/07/12     Page 1 of 2 PageID #: 83




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION




  UNITED STATES OF AMERICA,                    )
                                               )
                        Plaintiff,             )
                                               )
       vs.                                     )      Cause No. 1:06-cr-0008-LJM-DKL-17
  WILLIAM PERRY,                               )
                                               )
                        Defendant.             )



                  ORDER ADOPTING REPORT AND RECOMMENDATION

         Having reviewed Magistrate Judge Tim A. Bakers=s Report and Recommendation that

  William Perry=s supervised release be revoked, pursuant to Title 18 U.S.C. '3401(i), Rule

  32.1(a)(1) Federal Rules of Criminal Procedure and Title 18 U.S.C. '3583, the Court now

  approves and adopts the Report and Recommendation as the entry of the Court, and orders a

  sentence imposed of imprisonment of 24 months in the custody of the Attorney General.   Upon

  Mr. Perry=s release from confinement, he will not be subject to supervised release.

         SO ORDERED this 11/07/2012




                                                   ________________________________
                                                   LARRY J. McKINNEY, JUDGE
                                                   United States District Court
                                                   Southern District of Indiana




  Distribution:
Case 1:06-cr-00008-JMS-DML       Document 37       Filed 11/07/12   Page 2 of 2 PageID #: 84




  Josh Minkler
  Assistant U. S. Attorney
  josh.minkler@usdoj.gov

  Gwendolyn Beitz
  Joe Cleary
  Office of Indiana Federal Community Defender

  U. S. Parole and Probation

  U. S. Marshal




                                             -2-
